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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

DISH NETWORK L.L.C.,                            )
                                                )
                       Plaintiff,               )
       v.                                       )
                                                )    C.A. No. 19-1262 (RGA)
SERVERLOGY CORPORATION and                      )
DOES 1-5, individually and together             )
d/b/a East IPTV,                                )
                                                )
                       Defendants.              )

                     [PROPOSED] STIPULATED PROTECTIVE ORDER

               IT IS HEREBY STIPULATED by the parties, subject to the approval of the

Court, as follows:

               1.      This Order shall govern the use, handling, and disclosure of all documents,

testimony or information produced or given in this action which are designated to be subject to

this Order.

               2.      Any document, testimony or information submitted, either voluntarily or

pursuant to any subsequent order, which is asserted in good faith by the producing party or by

any other party to contain or constitute information protected by the Federal Rule of Civil

Procedure 26(c) or other provision or law, shall be so designated in writing, or orally at a

deposition, hearing or trial and shall be segregated from other information being submitted.

Materials so designated shall be clearly marked on their face with the legend:

“CONFIDENTIAL” or “CONFIDENTIAL – ATTORNEY’S EYES ONLY.” Such documents,

transcripts, or other materials are referred herein as “CONFIDENTIAL MATERIALS” and

“CONFIDENTIAL – AEO MATERIALS,” respectively.
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               3.      A party wishing to designate portions of a deposition transcript

CONFIDENTIAL pursuant to this Order must, within 2 business days from the conclusion of the

deposition, order the original or a copy of the transcript of the deposition from the court reporter

for regular turnaround. The designating party may designate those portions of the transcript

CONFIDENTIAL or CONFIDENTIAL – ATTORNEY’S EYES ONLY, in accordance with

paragraph 2 of this Order.       The designating party shall designate such CONFIDENTIAL

MATERIAL or CONFIDENTIAL – AEO MATERIAL either on the record or by serving upon

all counsel of record via facsimile or other electronic transmission a Notice setting forth the

page, line numbers and designation. The designating party must serve such Notice within 10

calendar days after its counsel receives a copy of the deposition transcript. All transcripts will be

treated as confidential until the expiration of the 10 day period described in this paragraph. Any

portions of a transcript designated as confidential shall thereafter be treated as confidential in

accordance with this Order. The parties shall negotiate in good faith to alter the time frames set

forth in this paragraph in situations where a more expedited filing of a designated portion of the

deposition transcript is required.

               4.      All CONFIDENTIAL MATERIALS and CONFIDENTIAL – AEO

MATERIALS, and all information derived therefrom (including but not limited to all testimony,

deposition or otherwise, that refers, reflects or otherwise discusses any such materials), shall not

be used, directly or indirectly, by any person for any business, commercial or competitive

purposes or for any purposes whatsoever other than solely for the preparation and trial of this

action in accordance with this Order.

               5.      In the absence of prior written permission from the designating party or an

order by the Court, CONFIDENTIAL MATERIALS shall not be disclosed to any person other




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than: (i) the parties and their attorneys; (ii) qualified persons taking testimony involving such

material and necessary stenographic and clerical personnel; (iii) disclosed experts and their staff

employed for this litigation; (iv) present or former employees of the producing party in

connection with their depositions in this action (provided that no former employees shall be

shown documents prepared after the date of his or her departure); and (v) the Court, Court

personnel, and members of any jury impaneled to hear this case.

               6.      Any party that seeks to disclose any CONFIDENTIAL MATERIALS to

any disclosed expert pursuant to paragraph 5(iii) must give reasonable notice in writing by

facsimile or by electronic transmission to the designating party. Such notice must include the

name of the disclosed expert, the date of the proposed disclosure, a summary of the disclosure,

and the expert’s educational and employment history. If the designating party objects in good

faith to the proposed disclosure, it must give notification in writing by facsimile or by electronic

transmission of its objections and the grounds thereof prior to the date of the proposed

disclosure. The dissemination of such CONFIDENTIAL MATERIALS to such expert shall be

withheld pending resolution of the objections, with the Court if necessary.

               7.      CONFIDENTIAL MATERIALS shall not be disclosed to any person

designated in paragraph 5(iii), unless he or she has executed a written, dated declaration in the

form attached as Exhibit A, acknowledging that he or she has first read this Order, agreed to be

bound by the terms thereof, agreed not to reveal such CONFIDENTIAL MATERIALS to

anyone, and agreed to utilize such CONFIDENTIAL MATERIALS solely for the purposes of

this litigation. All persons to whom CONFIDENTIAL MATERIALS are disclosed are hereby

enjoined from disclosing same to any other person except as provided in this Order, and are also

enjoined from using same except in the preparation for and trial of this case between the named




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parties thereto.     No person receiving or reviewing CONFIDENTIAL MATERIALS shall

disseminate or disclose them to any person other than those described above in paragraph 5 and

for the purposes specified, and in no event shall such person make any other use of such

CONFIDENTIAL MATERIALS.

               8.      In the absence of prior written permission from the designating party or an

order by the Court, CONFIDENTIAL – AEO MATERIALS shall not be disclosed to any person

other than: (i) counsel of record in this case; (ii) qualified persons taking testimony involving

such material and necessary stenographic and clerical personnel; (iii) the author or recipient of a

document containing the information or a custodian or other person who otherwise possessed or

know the information; and (v) the Court and Court personnel.

               9.      In the event that any party disagrees with any designation made under this

Order, the parties shall first try in good faith to resolve the disagreement informally. If the

dispute cannot be resolved and the receiving party concludes in good faith that the materials have

been improperly classified, the receiving party shall notify the designating party in writing by

facsimile or by electronic transmission of its objection, but shall continue to maintain the

documents or other information as confidential for fifteen (15) days after such notice. The

designating party shall have the right to move the Court to retain the designated status of such

materials. If the designating party files such a motion within the fifteen (15) day period, the

receiving party shall continue to retain the materials as CONFIDENTIAL or CONFIDENTIAL –

AEO, consistent with the designating party’s designation, until the Court has ruled on the

designating party’s motion.

               10.     Any    party   seeking   to   file   CONFIDENTIAL       MATERIALS        or

CONFIDENTIAL – AEO MATERIALS with the Court must: (i) provide the designating party




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with notice that it seeks to file CONFIDENTIAL MATERIALS or CONFIDENTIAL – AEO

MATERIALS with the Court; and (ii) meet and confer in good faith to determine whether a

redacted version of the CONFIDENTIAL MATERIALS or the CONFIDENTIAL – AEO

MATERIALS can be field with the Court. In the event no agreement is reached for the filing of

a redacted version, the party seeking to file such CONFIDENTIAL MATERIALS or

CONFIDENTIAL – AEO MATERIALS shall file such material in accordance with Local

Rule 5.1.3 and CM/ECF Procedures. The parties shall work together in good faith to coordinate

the filing of all motions and material covered by this paragraph to permit compliance with the

Local Rules.

               11.    Subject to paragraph 9, within sixty (60) days after the conclusion of this

case, upon written request, the parties shall assemble and make available to the designating party

all materials containing information designated in accordance with paragraph 2 above. The

designating party shall be responsible for retrieval of such documents. The designating party

may elect to have its designated materials destroyed rather than returned, in which case the other

party shall provide written verification that the materials, including any summaries, extracts,

compilations, notes or other attorney work product, have been destroyed.

               12.    This Order shall remain binding after the conclusion of this case unless

otherwise ordered by the Court, and the Court shall retain jurisdiction over all parties bound

hereby for the purpose of enforcing this Order. Each individual signing the declaration attached

as Exhibit A agrees to be subject to the jurisdiction and venue of this Court for purposes of this

Order.




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                  13.   This Order does not prevent any party from seeking to seal trial transcripts

and/or trial exhibits, including documents previously filed under seal, or from seeking any other

similar relief.

                  14.   Neither the entry of this Order, nor the designation of any material as

“CONFIDENTIAL” or “CONFIDENTIAL – AEO,” nor the failure to make such designation,

shall constitute evidence on any issue in this case.        The designation of any materials as

“CONFIDENTIAL” OR “CONFIDENTIAL – AEO” does not waive that party’s objection to

any discovery on the ground that it seeks information protected by Federal Rule of Civil

Procedure 26(c) or other provision of law.

                  15.   Nothing herein shall affect or restrict the rights of any party with respect

to its own documents or to the information obtained or developed independently of materials

afforded confidential treatment pursuant to this Order.

                  16.   Other Proceedings. By entering this order and limiting the disclosure of

information in this case, the Court does not intend to preclude another court from finding that

information may be relevant and subject to disclosure in another case. Any person or party

subject to this order who becomes subject to a motion to disclose another party’s information

designated as confidential pursuant to this order shall promptly notify that party of the motion so

that the party may have an opportunity to appear and be heard on whether that information

should be disclosed.




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MORRIS, NICHOLS, ARSHT & TUNNELL LLP            THE LAW OFFICE OF JAMES TOBIA, LLC

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                                                Attorneys for Defendant Serverlogy Corporation
September 20, 2019

IT IS SO ORDERED.


Dated: _______________________                ______________________________________
                                              JUDGE RICHARD G. ANDREWS
                                              UNITED STATES DISTRICT COURT JUDGE




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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

DISH NETWORK L.L.C.,                             )
                                                 )
                       Plaintiff,                )
       v.                                        )
                                                 )    C.A. No. 19-1262 (RGA)
SERVERLOGY CORPORATION and                       )
DOES 1-5, individually and together              )
d/b/a East IPTV,                                 )
                     Defendants.                 )

              EXHIBIT A - DECLARATION UNDER PROTECTIVE ORDER

               I, ____________________________, being duly sworn, declare as follows:

               1.      My address is ________________________________________________

_________________________.

               2.      My present employer is ________________________________________

_________________________.

               3.      My present occupation is _______________________________________

_________________________.

               4.      I acknowledge that: (i) I have been given a copy of the Protective Order

in the above-referenced case; (ii) I have carefully read the Protective Order; and (iii) I understand

and am familiar with the terms of the Protective Order.

               5.      I agree that: (i) I will comply with all provisions of the Protective Order;

(ii) I will hold all Confidential Material disclosed to me in confidence, and will not reveal such

material to any person not qualified under the Protective Order; (iii) I will not use any

Confidential Material disclosed to me for any purpose other than this case; and (iv) I will return

any Confidential Material at the request of the party that provided such material to me.
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               6.     I submit to the personal jurisdiction and venue of the United States District

Court for the District of Delaware for purposes of enforcement of the Protective Order.           I

appoint _____________________, with an address of _______________________________, as

my Delaware agent for service of process in connection with this action or any proceeding

related to the enforcement of the Protective Order.



               I declare under the penalty of perjury that the foregoing is true and correct.



                                              ____________________________

                                              By:




                                                 2
